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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

   Civil Action No. 17-cv-01937-NYW

   MICHEAL BACA, POLLY BACA, and ROBERT NEMANICH,
        Plaintiffs

   v.

   COLORADO DEPARTMENT OF STATE,
       Defendant.


                                       NOTICE OF APPEAL


          NOTICE is hereby given that Micheal Baca, Polly Baca, and Robert Nemanich,

   Plaintiffs in the above-captioned legal matter, hereby appeal to the United States Court of

   Appeals for the 10th Circuit from the Order on Motion to Dismiss entered April 10, 2018 and the

   Final Judgment entered on April 10, 2018.

          Respectfully submitted this 26th day of April, 2018.

                                               /s/ Jason B. Wesoky
                                               Jason B. Wesoky
                                               1331 17th St., Suite 800
                                               Denver, CO 80202
                                               Telephone: 303-623-9133
                                               Fax: 303-623-9129
                                               E-mail: jason.w@hamiltondefenders.org

                                               Lawrence Lessig
                                               Jason Harrow
                                               Equal Citizens
                                               20 Armory St.
                                               Brookline, MA 02446
                                               Telephone: 610-357-9614
                                               Email: lessig@this.is
                                                      jason@equalcitizens.us
                                               Attorneys for Plaintiffs

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                                  CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on this 26th day of April, 2018, a true and correct
   copy of the foregoing NOTICE OF APPEAL was filed with the Court via CM/ECF and served
   upon counsel for Defendant via method indicated:

      Attorneys for Defendant, Colorado Department of State:         via CM/ECF
      Matthew D. Grove
      LeeAnn Morrill
      Grant Sullivan
      Office of the Solicitor General
      Ralph L. Carr Colorado Judicial Center
      1300 Broadway, 6th Floor
      Denver, CO 80203
      Telephone:720-508-6157
                  720-508-6359
                  720-508-6349
      Facsimile: 720-508-6041
      Email:      matt.grove@coag.gov
                  leeann.morrill@coag.gov
                  grant.sullivan@coag.gov

                                               /s/ Kurt E. Krueger
                                               Kurt E. Krueger, Paralegal




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